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 J. Justin May, ISB: 5818
 Chad R. Moody, ISB: 9946
 ANGSTMAN JOHNSON
 199 N. Capitol Blvd., Ste 200
 Boise, Idaho 83702
 Phone: (208) 384-8588
 Fax: (208) 629-2157
 Email: jjm@angstman.com
         chad@angstman.com

 Attorneys for Debtor in Possession


                               UNITED STATES BANKRUPTCY COURT

                                         DISTRICT OF IDAHO

In re:                                                Case No. 19-40481-JDP

RYAN HINTON, INC.                                     Chapter 11

                    Debtor.




         MOTION TO REJECT EXECUTORY CONTRACT OR UNEXPIRED LEASE
                                        (PACCAR-TRUCK 52)
                      Notice of Motion to Reject Executory Contract or Unexpired Lease
                                 and Opportunity to Object and for a Hearing

     No Objection. The Court may consider this request for an order without further notice or
     hearing unless a party in interest files an objection within 21 days of the date of this notice.
     If an objection is not filed within the time permitted, the Court may consider that there is no
     opposition to the granting of the requested relief and may grant the relief without further
     notice or hearing.

     Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy
     of the objection shall be served on the movant.

     Hearing on Ob jection. The objecting party shall also contact the court's calendar clerk to
     schedule a hearing on the objection and file a separate notice of hearing.




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          The Debtor in Possession, Ryan Hinton, Inc., by and through its counsel of record,

 ANGSTMAN JOHNSON, hereby moves the Court for an order approving rejection of an

 unexpired Equipment Lease Agreement, Account ending in last 4 digits 1682 (the "Lease") with

 PACCAR Financial Corp. ("PACCAR"), regarding a truck which Debtor refers to as "Truck 52",

 under 11 U.S.C. § 365{a) and Rule 6006 of the Federal Rules of Bankruptcy Procedure and Rule

 9014 of the Federal Rules of Bankruptcy Procedure. The Lease Agreement between the parties is

 attached hereto as Exhibit "A."

          Fields Trucking LLC and PACCAR entered into the Lease on April 8, 2016, for a term of

60 months. On February 2, 2018, prior to Debtor's bankruptcy, PACCAR approved the request

for a transfer of the equity in the Leased equipment going from Fields Trucking LLC to Ryan

Hinton, Inc. pursuant to a Lease Transfer of Interest agreement. PACCAR calculated the cure

amount for unpaid lease payments, late charges and attorney fees as of 7/21/2019 to be $8,282.94

("Cure Amount"). The parties reached an agreement that Debtor in Possession shall pay the Cure

Amount to PACCAR as follows: Upon assuming the Lease, Debtor will make monthly payments

of the lease payments with partial arrearages in the total amount of $3,631,40 commencing

8/8/2019 for the next 6 months. Debtor will then resume the monthly payments of $2,250.90 for

the remainder of the term.


          Based on the parties' agreement, on July 22, 2019 Debtor filed a Motion to Assume

Executory Contract or Unexpired Lease (Paccar-Truck 52) [Docket No. 68]. The Court issued

an Order on August 20, 2019 granting Debtor's Motion to Assume the Paccar Lease [Docket No.

103.].




MOTION TO REJECT EXECUTORY CONTRACT OR UNEXPIRED LEASE (PACCAR -
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          Debtor now wishes to reject the unexpired lease and deliver back to Paccar the following

 piece of equipment that is the subject of the Lease:


           1. Truck 52: 2016 Kenworth W900 Studio, VIN 1XKWD49X8GJ103312.


          The Lease is an unexpired executory contract. Debtor believes it would be adverse to

 creditors should Debtor be forced to continue payments on the monthly rental amount and post-

 petition cure payments, with interest.     Debtor has been re-evaluating its truck, trailer, and

 equipment needs and has been re-focusing its business on the brokerage operation. Debtor has

been down-sizing its trucking operation. Debtor has determined that the equipment subject to the

 Lease is not necessary for current ongoing operations. Debtor believes the payments to cure the

 arrearages will be more burdensome on its operations and the bankruptcy estate than the payments

on amounts owed, if any, after the creditor takes steps to mitigate its damages. In the best business

judgment of Debtor, rejection of the contract would benefit general unsecured creditors.

          This Court has jurisdiction over this request pursuant to 28 U.S.C. §§157 and 1334. This

is a core proceeding in accordance with 28 U.S.C. §157(b)(2). 11 U.S.C. §365(a) provides, "The

Trustee, subject to the court's approval, may assume or reject any executory contract or unexpired

lease of the debtor." In determining whether to approve a Debtor's decision to reject an unexpired

lease under §365, courts generally apply the so-called "business judgment rule." This standard

has long been applied to the proposed assumption or rejection of contracts and leases in the

bankruptcy court. "[T]he question whether a lease should be rejected and, if not, on what terms it

should be assumed is one of business judgment." Group of Institutional Investors v. Chicago,

Milwaukee, St. Paul and Pacific Railroad, 318 U.S. 523, 550 (1943); See, e.g., In re Huang, 23

B.R. 798, 800 (9 th Cir. BAP, 1982).



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           WHEREFORE, Debtor in Possession moves this Court for an order authorizing the Debtor

 to reject the attached Lease Agreement for Truck 52 with Paccar.

           DATED this 7th day of January, 2020.

                                                         /s/ Chad R. Moody
                                                  CHAD R. MOODY
                                                  Attorney for Debtor




MOTION TO REJECT EXECUTORY CONTRACT OR UNEXPIRED LEASE (PACCAR-
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 7th day of January, 2020, I filed the foregoing MOTION
 TO REJECT EXECUTORY CONTRACT OR UNEXPIRED LEASE (PACCAR - TRUCK 52)
 electronically through the CM/ECF system, which caused the following parties to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

     •  Megan M Adeyemo madeyemo@gordonrees.com, asoto@grsm.com
     •  Laura E Burri lburri@morrowfischer.com, klee@morrowfischer.com
     •  Matthew Todd Christensen mtc@angstman.com,
        mtcecf@gmail.com;govai@angstman.com;megan@angstman.com;abbie@angstman.com
        ;ecf@angstman.com;atty_ christensen@bluestylus.com;christensenmr81164@notify.bestc
        ase.com
      • Amber Nicole Dina amberdina@givenspursley.com, litigation@givenspursley.com
     • Kimbell D Gourley kgourley@idalaw.com, swibright@idalaw.com
     • Shannon Graham smg@kellylawidaho.com, tls@kellylawidaho.com
     • R Ron Kerl Ron@cooper-larsen.com, kelli@cooper-larsen.com,bobbi@cooper-
        larsen.com
     • Peter J Kuhn peter.j.kuhn@usdoj.gov
     • David Henry Leigh dleigh@rqn.com, swilliams@rqn.com;docket@rqn.com
     • Jed W Manwaring jmanwaring@evanskeane.com, jgeier@evanskeane.com
     • Jed W. Manwaring jmanwaring@evanskeane.com, valerie@evanskeane.com
     • James C Meservy jcmeservy@wmlattys.com,
        dlpeterson@wmlattys.com;lmcarpenter@wmlattys.com;jmbos@wmlattys.com
     • Chad Moody chad@angstman.com,
        govai@angstman.com;megan@angstman.com;caroline@angstman.com;ecf@angstman.c
        om
     • Jason Ronald Naess jason@pmt.org
     • David Wayne Newman ustp.region18.bs.ecf@usdoj.gov
     • John C Peterson johncpeterson@cableone.net
     • Sheila Rae Schwager sschwager@hawleytroxell.com, dsorg@hawleytroxell.com
     • Thomas Daniel Smith tsmith8206@cableone.net
     • US Trustee ustp.region18.bs.ecf@usdoj.gov
     • Julie Varin jvarin@grsm.com, tduff@grsm.com
     • Jeremy Vaughn sks&t@idaho-law.com
     • Brent Russel Wilson bwilson@hawleytroxell.com, dsorg@hawleytroxell.com

          Any others as listed on the Court's ECF Notice.




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        AND I FURTHER CERTIFY THAT on this date I served the following non-CM/ECF
 Registered Participants via US First Class Mail, postage prepaid, addressed as follows:

          PACCAR Financial Corp.
          Attn: Linda Markle
          Bankruptcy Specialist
          P.O. Box 1518
          Bellevue, WA 98009
          and by email to: linda.markle@paccar.com

          U.S. Trustee
          Washington Group Central Plaza
          720 Park Blvd., Ste. 220
          Boise, ID 83712-7785

          20 or more Largest Unsecured Creditors (see attached list)

          Mark A Brady
          Cooper Norman
          POB 5399
          Twin Falls, ID 83303-5399



                                                     /s/ Chad R. Moody
                                               Chad R. Moody




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  B&BHay                              Bailey Farms International          Denney Company, Chtd.
  158 Cypress Way                     POBox694                            1096 N Eastland Drive
  Twin Falls, ID 83301                Ephraim, UT 84627                   Suite 200
                                                                          Twin Falls, ID 83301


 Dry Creek Fanns                      Internal Revenue Service            .Jaek Vei:bree Dames
 78 Dry Creek Road                    PO Box 7346                         1574 B2900 S
 Carey, ID 83320                      Philadelphia, PA 19101-7346         Wendell, ID 83355
                                                                          (RETUR.l\lED MA.IL)


 Jackson Group Paclease               Jim Cenarmsa                        Kabbage, Inc.
 POBox27634                           POBox65                             925B Peachtree Street NE
 Salt Lake City, UT 84127             Carey, ID 83320                     Suite 1688
                                                                          Atlanta, GA 30309


 Les Schwab                           National Funding                    Nedrow Brothers
 421 Blue Lakes Blvd N                9820 Towne Centre Drive             1401 N 3125 E
 Twin Falls, ID 83301                 San Diego, CA 92121                 Ashton, ID 83420



 Pali Farm LLC                        Pasco Farming, Inc.                 Phil Yost
 8235 North 4600 West                 590 West 900 North                  17 80 Rich Road
 Elwood, UT 84337                     Paul, ID 8334 7                     Grace, ID 83241



 Simpson Brothers                     Sunrise Foods International         Trail Ranches Inc.
 Box208                               306 Queen Street #200               5308 E Trail Road
 Carey, ID 83320                      Saskatoon, SK S7K 0M2               King Hill, ID 83633



US Dept of Transportation             WCF Insurance                       BMO Transportation Finance
Golden Hills Office Centre            100 W Towne Ridge Pkwy              300 E John Carpenter Freeway
12600 W Colfax Ave Ste B-300          Sandy, UT 84070                     Suite 500
Lakewood, CO 80215                                                        Irving, TX 75062


Caterpillar Financial Services       Continental Bank                     Corporation Service Center
2120 West End Ave                    15 W South Temple Ste 300            801 Adlai Stevenson Dr.
Nashville, 1N 37203-0986             Salt Lake City, UT 84101             Springfield, IL 62703



Deere Credit, Inc.                   DL Evans Bank                       DL Evans Bank
6400 NW 86th Street                  906 Blue Lakes Blvd N.              PO Box 1188
Johnston, IA 50131                   Twin Falls, ID 83301                Burley, ID 83318-0826



Engs Commercial Finance              Eegs Gemmereial Finance            Fields Trucking, LLC
1 Pierce Place                       2 441 WOHeB¥ille &ead 8:te 310     1252 Inca Drive
Suite 1100 West                      Lisle, IL 60532                    Twin Falls, ID 83301
Itasca, IL 60143                     (RETURNED MAIL)
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 First Federal Savings Bank         Hitachi Capital America Corp        John Deere Const & Forestry
 PO Box 2906                        800 Connecticut Ave                 6400 NW 86th Street
 Twin Falls, ID 83301               4 th Floor                          Johnston, IA 50131
                                    Norwalk, CT 06854-1631


Lease Consultants Corp.             Mack Financial Services             Mercedes-Benz Financial Svcs
PO Box 71397                        POBox26131                          13650 Heritage Parkway
Des Moines, IA 50325                Greensboro, NC 27402-6131           Fort Worth, TX 76177



Northland Capital Equipment         Northwest Equipment Sales           Northwest Equipment Sales
PO Box 7278                         2405 S Janeen Street                PO Box 16510
Saint Cloud, MN 56302-7278          Boise, ID 83709                     Boise, ID 83715



Open Road Financial Services        Paccar Financial Corp.              Porter Billing Services
Trena Harustak                      PO Box 1618                         2112 P 1 AveN
PO Box 484                          Bellevue, WA 98009                  Birmingham, AL 35203
Dallas, OR 97338-0484


QL Titling Trust LDT                Transportation Alliance Bank        USBank
PO Box 83265                        4185 Harrison Blvd Ste 200          131 0 Madrid Street
Chicago, ill., 60691-0265           Ogden, UT 84403                     Marshall, MN 56528



Vehicle Lenders Group, LLC          VFSUSLLC                            Volvo Financial Services
23 Berry Hill Road                  POBox23161                          POBox26131
Oyster Bay, NY 11771                Greensboro, NC 27402                Greensboro, NC 27402



WexBank                             Jack Verbree Jr. Dairies, LLC
7090 Union Parkcenter               POBox30
Ste 350                             Wendell, ID 83355-3023
Midvale, UT 84047
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   FINANCIAL                                                                        EQUIPMENT LEASE AGREEMENT
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FINANCIAL                                                   EQUIPMENT LEASE AGREEMENT
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en, ~ n • p ~ ......,_ flel.elll0 .-1!1 p■1the LeNarai lldJUltloll                                       l'8lldllr . . -       UIIIINIIIII; (c) wllllout temmlllftg tNa ~ - - - . .
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  MrmR
  FINANCIAL                                                                                          EQUIPMENT LEASE AGREEMENT




ALL Tl!Rll8 AND.CONDfflONS OF11118 AGREEMENT ARE A PART HEREOF AND ARE BINDJNG UPON nlE PARTIES HERETO.
LESSE!! ACfCNOWLEDGES THAT LESSEE JIM 'RECEIVED A TRUE COPY OF 11IIS AGREEMENT, 1.SSEE 1WS READ 1T AND 1T WM
COMPLETELY FILLED IN BEFORE LESSEE SIGNED IT•
.lhll Agreement may ba eJleCUled In one or mana aolllllarparta, each of which 1hal be deemed an olfr,lnal, but aN of which toe•lhllr lhall constllute one
and 1h11 aama agieemant. A phalDcopyorefadralllc qned copy of anyeuch CC1Unler,-t shal hffll the ■lffl8foa and effect ae en qlnaf (Ink)
algnatura.


                                                                                             Flekl8 Tnlclcfng LLC

  1M
                                                                               -Im




                Ant• Admfnlstrdon Manager
                ffl-106thAveNE:,                                                             1252 Inca Drive
                Bellevue. WA 88004                                                           Twin Falla. ID 83301
                Aprlll,2011                                                                  Aprtl S. 2018




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CAT. NO. COS2 lDM (IIIJOII)
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   PAC'OIR
  FINANCIAL                                                                                                   LEASE GUARANTY
  Reference Is made to lhe Equipment Lease Agreement C-Agreament") 'dated ;tqnil 8. 2016-between -PACCAR·flnanclal'Culp. ·("blsaor',
  and Fields TNCklng LLC ("Lessee,.                                                                                      ·
   In order to Induce Lessor lo enter Into the Agreement. and for other valuabre conalderatlon the receipt and sufficiency cf whlc:h Is hereby
   ac:knowtedged. Guarantor (and [f mora than one: each of the undersigned Guarantors Jolntfy and severally) hereby uncandltlonally and
   lrravocably guanmtees to Lessor and lta asaigna that, regardless of the enforceability of Iha Aaree•nt or of any other cmumslanca which
   might affect the UabDlty of Lessee or of Guarantor. [i) all of Lessee's payment and other obligations under the .Agreement rc>bUgaflonsi
   will be perfonned or pafd In ft.Ill In accordance wilh the 1erma of the Agreement, and 01) In case of any extension of time of payment or--'
   other change, amendment or modification of the Obligations, they wlll be performed or peld Jn full In accordanca with the tenns of such
- extension. change, amendment ar modlffcaUan. In lha event that any of Iha Obllgatlons ara not pert'onned or paid In ft.Ill when due ror
  Whatever season, lnclUdlng Lessee's bankruptcy, Insolvency or receivership or a dlseharge or release of the Oblfgatlons In a bankn.lptcy or
  other judlclat proceeding, Guarantor wlll pay such amount lmmecfsately upon notice from Leasor, regardless of whether Leasor has
   proceaded against Le,see or the Equipment (aa defined In Iha Agreement). Guarantor hereby welves notice of and consents to any and all
  changes, amendmenta, mcdllcatlona. extensions of time of payment. nmewata, releases of Equipment or any o t h e r ~ from llme
  to time granted to Lessee In respect of any or all of the Obllgatlons. Guarantor hereby waives notice of aeceptance, notice of presentment,
  demand of payment. notice of p,otest, notice of eale or other dlsposlian and notice of releaae or other handllng of the Equipment, and all
  other notices and demand& whatsoever respecllng lhe Obllgallona or the Equipment. This Guaranty &hall bind the Guarantor and the
  Guarantor's heirs, euccesaons and asslgns. Thia Guaranty atial be autmnatlcalfy retnslated If for any n,asan any payment or performance
  In respect of the Obllgatfona shall be rescinded or must olherwfsa be restored or returned, whether as a rasull of proceedings In
  bankruptcy or otherwise. Any of the underalgned Guarantors, If more than one, and any othar parey Hable In raspect of lhe Obtlgatlons may
  be relea&ed WHhout affecting the BablUty of any uncler81gned Guarantor or Guarantors not so Nleaaad. Lescor may a181gn thlG Guaranty,
  and If lt does, the assignee shall have the same rfghls and remedies as If originally named herein In place of Leasor. Guarantor hereby
  lrnwocably waives and renowwea any right or dalm Guarantor would otherwise have egafnst l.ee8ee, whether by way of Indemnification,
  subrogation, ~lion, right or ralmbursarnant, contribution or olharwln, aa a conaequence of Guarantor's making any payment under
  this Guarantee.




··--~
 Dated lhls eighth da, of April, 2018.


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 Steven Fle1dB

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  PAcrAR                                                                                      EQUIPMENT LEASE AGREEMENT
  FINANCIAL                                                                                  SCHEDULE k. RENTAL .PAYMENTS
 Schedule A la RIBda a part of lhe Equfpment Lme Agreement dated Aprl 8, 2018 batwaen PACCAR Flnanolal Corp. ("LalSOI") and
 FleldeTIUOldn8 u.c r,..ea.ee-).
  casarcamrrM1e                      1l!RIII CF LDlllil,IIC1 - ~          lOCA'QIINCIF11E ~
          April B. 2016                               60                                   1262 Inca DIIVe; nlln Fala, ID 83301
   IMffOF.......:nc•                                                      IWIEPIATl!lll!GISn,,iilON IR'ff!. COUNTY, 1nYJ




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                  Idaho                              Idaho                                      .... Twin FIIIIII. Twin Fala
                                DUCRl'IIONCJFEQUl'IIBfl'
    YIM              IMICI!
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                                                                                        CRJISWSQHI'             ~A

   2018            Kenwarll               W800               1XKWD49XBGJ103312              80000                 $1G0,688Ji8          $2.&09-00




MONTHLY RENTALS                                                                 MOUNT DUE AT DELIVERY
1. Schedule A Value (Total Equipment Coaf)                      $168,888.56     1. Advance Rental•
2.Adjulbnentll                                                         0.00                           1 0 $2,509.00              $2.509.00
3. Adjuatacl Schedule A Value                                      168.888.68   2. Semtly Depod (ndundable)                           0.00
4. Bue MonlhlyValue                                                  2,509.00   3. lnfarlnl Rent (EXlnl Daya)                     . 0.00
&. Tax Addllfons                                                                4. License, Tide. ucc & Regfwatroh                    o.oo
 state fdaho                              O.oooo%                       0.00    6. Olher O                                            0.00
 Caunty 1w1n Falls                        0.000()%                      0.00    8. Document Pnlparatron Fae                         350.00
 City      1Wn Falla                      0.0000%                       0.00    7. Tolal Amolri Due at Delfvery              :/. $2,869.0D
  ICC•                                   (lf_,,.hm elatel lacel taa.)           Advance ranlal ~and lriladm rent are due at dellvery,
6. TatalMmdhlJRiniili                                      $2,&09,00            tharaaftermonlhlJninlal payrMldl are due on the wne day
                                                                                deadt month beginning Ma,&. 2018.
'1bls AgrNment may be WUl8d In one or men counlerparta, each of which 1h11 be deemed an arfalnal, but al of whk:h together lhaD
aonstttuta  °"'end the ume agn1ement. A pho(Daopy or electronlO 1tgned aDPJ of any IUCtl counterpart ahal hlVII the aame form and effect
as an ortglnaf Onk) algnatunt.



                                                  ✓




           April 8, 2018                                                           April 8, 2018




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                                                                                                  February 21 2018


   r   Pields Trucking LLC

       RB:       Account#                              1682
                 Collateral:     (1)2016 KW W900 SN: 103312


       Dear CuatolUl',

       PACCAR PinanclaI has approwd the request for a transfer oftbe    equhy
                                                                            In die abow-remrenced vehicle goJng
       :&om ll'lelds Tracklng.LLC tb Ryan Bluton, Jnc. Sfgnaturea are requhed on the enclosed Lease Transfer of
       lnmrest form, Board Reaolutlon, Seles/Uao Tax.Bmnption Certificato. Power of Attomey. Casualty It.
       Tmtnlnatlon Sohedule, ST-104-MV', Guaranty, and Payment Option Addendum. Ploase tab 1he following
       steps:

             1) A Member 1i'1elda Trading LLC needs to sign the Transfer oflnterffl and Power ofAttorney as
                Jndicated.
             2) An omcer ofByan Blnton. Ine. needs to algn lhe Transmr oflmrest, Salea/Uae Tmt Bxmnption
                certlficate, Power of Attomey, Casualty & Termination Schedule, ST-104-MV, and Payment Option
                Addendum as 1ncllcated.
             3) Robert Ryan Binion needs to aJgn the Personal OUuanty.
             4) Please send tho total of lJUi4&9P for tho~ ($9,550 advance, $4SO documm1t fee, $2,509 Pebruaty
                2018 payment and $39 title fees), Yau oan call 800-333-4998 and ask ibr 1ho payments depal1ment to
                pay thee ties over the phone or send them with the doomnen11. If sent whh tho algned dooumams,
                please tmnit a check made payable to PACCAR Plnancial Colp.
             5) Porwud proof of Jmurance showing Ryan Hinton. Inc. as insured. PACCAR Financial must bo
                named u Loss Payee and Additional Insured, Uabllity coverage must be at leaat $1,000,000. Physical
                Damage deductible Ja not to e:itcced $S,000. You may have the msurance agant filx a certificate
                directly to our office at (425) 468-8540.

       Once wo have moeived all tha signed documema and a check fbr the processing fee, we will process the
       transfer a copy of the '1'ran&&r of Intmcat doeument will bo rctumcd once all pal1les have signed.

       Please call me at 425-828-5S46 ifyou have any questions about thJa process.



                                                                  Sinoercly,
                                                                  f'{1()Jj..J..~
                                                                  Marie Shannon
                                                                  Contract Administrator n
       eDClosure

                                                 PACCAR Ananclal Corp.
                           PACCAR Buftdlng P,O, Box 1618 Bellevue, WA 98009-1518 (425) 468-7100
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 PA«AR                                                                                       LEASE TRANSFER OF INTEREST
 FINANCIAL                                     ACCOUNT:                              f882          (Subject lo EqulP,1119nt Lease Agreement)

LESSEE AGREES: FOR VALUE RECEIVED, and aubJeot to lh& consent of PACCAR Flnan11lal Corp. ("Leasor") lhe undersigned Lenee
hereby assigns to Ryan Htnton, (nc. ("New Lesaee"), all Its right, title, and ln1ereal In and to the below-deaarlbed vehtcle(e) under an
Equipment Leasa Agreement dated Aprll 8,2018 and Schedule A deled April 8. 2016 (coDeottvely, the "Lease") between PACCAR Ffn1111olal
Corp. and Lessee. Leaaea hereby agrees that fhla assignment shall In no way operate to nillave l..esflee from Its obllgallona under said
Lease. l.esaee &gA188 that the time for making payments for any or d renlal paymente due or oomlng due under said Lean may be
extended or changed al the opllon of Lessor and New Lessee, without Lessee's consent, and that any such axlanalona or changea ahllll not
rellave Lenee from llabDlty under &aid lease.
                                                                    IIA'lli:
                                                                      February 2, 2018
                                                                    AIJDREll8;
                                                                      1262 Inoa Drive
                                                                      Twin Falls, ID 83301




                                   l<enworth
NEW LESSEE AGREES: FOR AND IN CONSIDERATION 0~ the aealgnment to New L888ee of the Leaaaa'a Interest In the above-
described Lease, New Lessee hereby agrees to make an rental paymenta now due or to become due under said Leaee and to comply wllh
all of the other terms and condlUona or the Lease as If New Lessaa hlld orlglnatly signed the Lease ll& Leeaee. Rental paymanla under the
Lease are payable In the following mamer:




This Lease Transfer of lntereat may be executed In one or more counterparts, each of Whloh shall be deemed an original, but all of which
together shall conalltute one and the aame agreement. A photooopy or eleotronla signed copy of any auch counl811)al'l shall have lhe eame
force and elfsot ae an original ~nk) signature.
 LESSOR CONSENTS: We hereby consent to the aaalgnment of New Lessee aoknowledgaa that he/she has received a true copy of lhe
 the lessee's Interest In the Lease to the New Leasee. aubjeol to Lease, appllaable attachments, and Lease Transfer of Interest, lhat
 the concffllons stated h8l'81n and to the _terms of the Lease.   Naw Lessee haa read these document. and that they ware completely
                                                                  fllledln,



                                                                                                                                    ✓



                                                                                      TOTAL DUE AT SIGNING: $12,548.00

                                                             Page 1 of 1
                                                                                 SOliED\JLE A DATED: ◄ID/1018
CAT. HO, 1ffl LDM (1°1/2011)                                                     LE88EE: ""Id■ Truaklng U.O
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                                                                                                                 IG.i'l-

 PA«AR                                                                                        CASUALTV AND
 FINANCIAL                                                                            TERMINATION SCHEDULE
This Casualty and TermlnaUon Schedule Is made a part of lhe Equipment Lease Agreement dated April 8, 2016 between
PACCAR Flnanclal Corp. f'Lessor'? and Ryan Hinton, Inc. ("Lessee"). Termination values asaume that an rental
payments, rees, and other payments due under the agreement are paid. The table below reflects the pen:enlage of orfglnal
cost for casualty or tennlnaUon at each rental month.

Lesaor manages certain of Its assets through a like-kind exchange program. In connection therewith, notice la hereby given
that the rights, but not the obligations, of Lessor to purchase and aeD the assets contained herein have been assigned to
PFC Exchange, LLC pursuant to an agreement between Lessor and PFC Exchange, LLC.

  Period              Date Percentage           Period        Date Percentage             Period      Data Percentage
       1           618/16      101.86               41       918/19   48,90
       2           8/8/16      101.01               42      10/8/19   47,48
       3           7/8/18      100.13               43      11/8/19   46.05
       4           818/16       99.24               44      1218119   44.61
       6           918/16       9B.33               46       1/BJ20   43.15
       6          10/8/16       97.40               46       2/8J20   41.69
       7          11/8/16       96,46               47       3/8/20   40.20
       8          12/8/16       95.48               48       4/8/20   38.70
       9           1/8/17       94A8                49       S/8/20   37.20
       1D          2/8/17      93.47                60       6/8/20   36,89
       11          3/8/17      92.44                51       7/B/20   34.18
    12             4/8/17       91.40               62       8/8120   32,84
    13             518/17       B0.32               sa       9/8/20   31.10
    14             6/8/17      89.22                64      10/8/20   29.65
    15             7/8/17      88,D9                56      11/8120   27.99
    18             8/8/17      86.94                se      1218/20   26.42
    17             918/17      86.77                67       1/8121   24.84
    18            10/8/17      M,.67                58       2/8121   23.24
    19            11/8/17      83.36                69       3/8/21   21.83
    2D            12/8/17      82.11                60       418121   20,00
    21             1/8/18      80.84
    22              2/8/18     79.!!4
    23             3/8/18      72.39
    24             4/8/18      71.18
    26             5/8/18      69.97
    28             6/8/18      88.74
    27             7/8/18      67.50
    28             8/8/18      66.26
    29             9/8/1B      84.99
    3D            10/8/18      83.72
    31            11/8/18      62A3
    32            12/8/18      81.13
    33             1/8/19      69.82




.:
    34             2/8/19      68.50
    35             3/8/19      67.16
    38             4/8/19      66,81
                   518/19      64A6 •
                   8/8/19      53.0S
    39             7/8/19      61.70
    40             818/19      50.31


 U:880R:
            PACCAR Flnanolal Corp.
 9Y:
                                                                                                                    ✓
 Tm.e:      Area Administration Manager
 DAlE:
            February 2, 2018                                           February 2, 2018


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  PAcx-AR
  FINANCIAL                                                                     SALES/USE TAX EXEMPTION CERTIFICATION
• Exemption CertlHcate- Salaa/Use Tax la made a part of Iha Equipment Lease Agraement dated April 8, 2018 between PACCAR Financial
  Corp. or aaalgne ("Leasor, and Ryan Hinton, Inc. ("L.eaaelf).
 I certify:
      •       that Lessee la engaged In Exempt organlzaUon
      •       that L.eaaee Is registered wllh lhe following states, counties or clUes.
                                            State, County or City                  Registration or Identification Number
                                                      Idaho                                          NA
                                                   lwln Falla                                        NA
                                                 Twlnfal~                                           NA

      •       that the Lease and Iha operation of the vehlcle(a) la entllled to exemption under appllcable taxing authorities and state provisions.
      •       that, If olalmlng exemption the Lessee wlll tteaP or cause to be kept and made available to Lessor any and all necesaary records
              relevant to the use of the equipment and pertaining to the aforesaid la)(88 and claim of exemption.
      •       that If the ~hlcle(a) leaaad free of sales/use tax la used by Lessee so as lo make It subject to a 88lea or use tax In any Jurisdiction
              (not Rmlted to those listed above), Lessee wlll pay the tax due plus any Interest and ·penalties, direct to the proper taxing authority
              when state law so provides and/or lnfonn Lessor for added tax blllng. LeBBee wll reimburse Lessor for sales or use falC8s
              a8888aed against Leasor by reason of such use,
      •       this Certificate shall be part of each Lease Which Lessee may hereafter enter Into with Leasor COV81fng the balow Hated equipment.
      •       that lhla ExempUon Certificate shall not Umll or otherwise ieatllct the obllgaUons of Le88ee under the EqUlpment lease Agreement
              and Its atlachrnenta and amendments and aH documanla shall iemaln In fllll force and effect ll'IChanged.
      •       that Leaee will promplly notify Lessor In the event of any changes In the &tatua of the operations or locaUon of Iha business or
              vehlcle(s).  ·
      •       that this certHlcate covers the following equipment:
                                                                · IIEBCRIPIION OP EQUIPMENT
                             YEAR                   w.KE                          MODEL              VBIICI..E IDENllFICATIOH NUMBER
                            2018                 Kenwor1h                         weoo                1XKWD49X8GJ103312




 I swear and affirm that the information on this form is true and correct as to every matter.
                                                                      LESSEE:
                                                                                Ryan Hinton, Inc,
                                                                      BY:

                                                                                                                            )                /
                                                                     'fflLE:
                                                                                President
                                                                     M1E:
                                                                                February 2, 2018




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 ST-104-MV                                   Idaho State Tax Commission
                                 SALES TAX EXEMPTION CERTIFICATE • VEHICLENESSEL
                           The buyer must complete lhls fOlm 1111d give It to the 8Bller when claiming a tax exempllon.
 ....,.n...,a                                                                    ·-· ·-·-

 -.cada
 Ryan Hinton, Inc.

 1399 Ffflmore St SUHe 602
                                     I...V.
                                                I;:...   Falls        lw'       -Kenworth Salas Co

                                                                                 322 E Frontage Rd
                                                                                -Clldll                             I.._
                                                                                                                               I••                     17':
 83301                                208-733-2928                               83338                                208-324-8B86
                                     .....
                                     ,                                                                               tUll!rVINcklldenllllcallantb!Mr
  VeflldeNeeael
 INFORMATION         1;;16    Kenworth                                    l:Oo                  1XKW049X8GJ103312
                                   OUT.OF-STATE EXEMPTION FOR NONRESIDENTS
 The purchase or lease of this vehlcle or vessel la exempt from aalea tax because:
  1. This \tehlcle is:
        'D an automobile                                D a snowmobile
         □ an on-hghWay motoreycle                      D a vessel with motor regardless of length
         O struck                                       D a vessel without a motor, 11 feet or more In length•
         □ atrafler"                                    D anATV
                                                        D an off.highway motoroyola. and
   2. I am not an Idaho resident and during any 12-month period, I wlll llmlt the storage or uae of this whlcla/Vassel In Idaho to 60
      days or lass, and
   3. I WIii take this vahlcle to the state or country of                                                          and wlll Immediately llcenae and
      tllle It there, If required, and
   4. My drlval'B Dcense number la                                         laaued by (state or country)                                                .
    '11118 exemption doesn't apply to SOHVs, UTVs, canoes, kayaks, truck campel8, or Inflatable boats (of any langth) sold
      without a motor.
 ORIBINAL• Idaho Stale 'RIX Commlsllan, lax DlaalM!y Buraau, Bax 38, Balle, ldal1o 88722
 OOPV-SeNar

                                          INTERSTATE CARRIER EXEMPTION
 The purchase or lane of thl& motor vehicle or traller la exempt from aalee lax because:
  Ill Truck or Bus
      1. This motor vehicle wlll be lmrnedlataly registered \\4th a ma>elmum gross weJght of mo,a than 26,000 pounds under
         the International Registration Program (IRP),
         and
      2. This vehicle wlH be part of a registered fleet of vehicles which will operate --10..% or 11s miles outside of Idaho,
         end
      3. I understand that If Iha out-of-Idaho fleet mUeage• drops below 10% for any registration year, I must pay use tax to
         lhe Tax Commission on the fair market value of this motor vehlole aa of Iha laat day of Iha registration period.
  OTraUer
      1. This on-highway trailer wlll lmmedlalely become part of a fleat of vehlcles registered under the International Realslralion
          Program (IRP),
          and
      2. This fleet of vehicle• will oi,aralB _ _% of Its mlles outside of Idaho, and
      s. I understand that If the out.-of-ldaho fleet mNeaga• drops below 10% for any registration year, I must pay usa tax to
          Jhe Tax Commission on the fair market value of this trailer as af the last day of the reglalratlon period,
      •An operator may h11118 more lhan one IRP lleal. Each fleet Is 8VUJ8led aaparalely for comJlllance wlh Iha out-of-cstale mileage requlremsnl.
 ORIGINAL-COUIIIY AIIHSlodldaho Tfllnaponallon Depanmlnl
 COPY -Saller
     I c:erllly that all alatsmenla I have made on Ith form are lrua and ooirect to the bast of my knowledge, I underaland that falsifying 1h18 certificate

 SIGN HERE>>         ,~·4
     to evade P8YlnB l8X la a misdemeanor. Olhar panalllea may also apply.
                             ·           ~--   c:;;--~" :>
                                                  ,              ~                                                     /1~018
                                   u                                 NOlE TO SELLER
 Rl.te 128 states that If you don't reoalve an exempUcm certlffcale fRlm Iha buyw 81111& time of aala, Iha aate 11 presumed to be taxable. If you recalVa
 an exemption ceroncate after Iha 1111a, but don't get II YAlhln a reasonable length of urne, Iha Tax Commlaalon YAII review the certlllcale with an other
 available ewlenoe lo delermlne whalheryou have clearly~ that the aala was exempt fRHn tax.
  • This form Is vaUd only If all lhe hlfomJatlon Is compl&te.            • 1h• SIJller mus~ /rasp this fonn.          • 111/a form may lie reproduced.
                                                                                                                                                       ERI00116
                                                                                                                                                           Clll-18--111
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 PAQ'AR
 FINANCIAL                                                                                                    LEASE GUARANTY
Rarer.nee 18 made to the Equipment Lease Agreement (9Agraement") dated April B, 2018 between PACCAR Flnanclal Corp.              ("Lenof')
and Rpn Hinton, Inc. ("Lassee").

In order to Induce l.e88or to enter Into the Agreement, and for other valuable consideration the receipt and eUftlclenoy of wtdch le hcnby
acknoWledged, Guarantor•(and I more lhan one, each of the 111deralgned Gtmrantora Jl>lntly and uverally) beret>, uncondltlonallJ and
Irrevocably guarantees to Leaaor and It& a881gns that. regardleaa of the enfoR:eablllly of the Agtaement or of any other clrwmetance which
might affecl the lablllty of Lessee or of Guarantor: (I) an of Lesaee's payment mtel other obllgatlona under Iha Agreement ("Obllgatlonai
wlD be performed or paid In full In accordance with the terms of the Agreement, and (I) In case of any e>ctenBlon of tme or payment or
other change, amendment or modlllcallon of the Obligations, they wilt be performed or paid In full In accordance wilh the term& of 8UGh
extension, change, amendment or modlRoatlon. In the event that any of the ObDgatlons are not performed or paid In ful when due for
whatever reason, lncludlng Laasee'a bankruptcy, Insolvency « nwelvenlhlp or a clschEUgB or releaae of the Obllgatlona In a bankruptcy or
other Judlclal proceeding, Guarantor wll pay auch amount Immediately upon notice tom Lasaor, ragardlasa of whether Leaaor has
proceeded against Lassae or the Equipment    <•                                                              ot
                                                 daflned In the Agreement). Guarantor hereby waives notice and consents to any and alt
changes, amendments, modlflcaUona, extensions of time of payment, renewals, releases of Eqlllpment or any other lndulgency from time
to time granted to Lesaee In respect of any or all of the Obllgatlona, none of v.fllch actlona &hall affect or Impair Guaranlor'8 oblgatlons
hereunder. Guarantor hereby waives notice of acceptance, notice of presentment, demand of payment, notice of protest, notice of safe or
other dlspoalllon and notice of release or other hancllng of lhe Equipment, and an other hDllcea and demands whalaoaver reapedlng the
Obllgatlons or the Equipment. Guarantor le and    ..a    keep Informed of Leaaea's financlal condltJon, the atatua of any gwnntcn or any
aeourty for the obllgalfonl of Lessee arising under the Agreement and all other dn:umstancea bearing upon Iha rlalt of nonpayment of
such obllgatlons.
Thia Guaranty shall bind the Guarantor and the Guarantor's heh, succeaaora and aSBfgna. Thia Guaranty ahal be automalfcally reinstated
If for any reason any payment or parformanoa In respect of the Oblgatlona ahall be readnded or muat otherwlae be restored or returned,
Whether as a reaull of proceedings In banbllpl&y or olherwlae. Any of the undel'lllgned Guarantora. If more than one, and any. other party
Uab1e In respect of the· Obllgatlona may be releaaed without affecllng the Dablllty of any undal"llgned Guarantor or Guarantors not ao
released. Lesaor may asalgn this Guaranty, and If It doaa, lhe aaalgnee shall have the same right& and remedies as If orlglnally named
herein In place of Lessor. Guarantor hereby lmwocably waives and renounces any right or clalm Guarantor would otherwlae have against
Lea888, whether by way of Indemnification, sub~gallon, exoneration, right of refrnburaernenl, contribuUon or otherwise, aa a cionaequence
of Guarantor making any payment undar this Guarantee.

Oaled this 68COl'ld day of February, 2018.


                                                           I       Address
                                                                   1399 Rlmore St Ste 502
                                                                   Twin Falla, ID 83301
                                                                                                                           Phone




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                                                                                              Account Nvmbar. 900-693-aio-oooo&721682
PAcrAR                                                                             ...
FINANCIAL                                                                       PAYMENT OPTION ADDENDUM

¥      CheckJHllloflhafoRowtng:.)f

                 Yea, I want to accees PACCAR Flnanclll Online Sarvlcu to make payrnentl onllne.
                 (You wll receive an emd welcome letterwlh tnstrucllone on how to etgn up.)

                 EIMI Addreaa:         CJ lj (I h:,. 7o IV   IiVc@            if , , , d / I. C.0 171
        □        I am an existing PACCAR Financial Onllne Services customer, currently making paymente onllne.
                 Emall Addreea:


        □        No, I do not want to acceas PACCAR Flnlndal onnne Services. I pl'tftr to receive a Coupon Book and
                 underatand that I wlll ba BUbfed lo a one-time, non-refundable Administration Fee of $250.DO for
                 choosing Ibis option.

                 Reason:



By etgnlng beloW, I understand that tr payments are not made tlRugh PACCAR Financial onHne SeNlces. I am aubJect to a one-time,
nonofefUndable Administration Faa of $280,00 to be added to my account.



 SB.UIII                                                          BUYER:
                      PACCAR Financial carp,
 IYI                                                              In':
                                      /4                                                                                     /
                                                                  NAME,
                              Barbara Coccia
                                                                  ,mr:
                    Area Administration Manager                                               President
                                                                  DATE!
                                2/2/2018                                                      2/2/'ID18




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